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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

 LORI FITZGERALD, et al.,

         Plaintiffs,

 v.                                                     Civil Action No. 3:20-cv-00044-NKM-JCH

 JOSEPH WILDCAT SR., et al.,

         Defendants.

      MOTION TO SEAL EXHIBIT B OF DECLARATION OF GEOFFREY H. KOZEN IN
       SUPPORT OF MOTION TO DISMISS PLAINTIFF MAVILLE’S CLAIMS AND
           MOTION TO COMPEL ARBITRATION OF MAVILLE’S CLAIMS

          Pursuant to W.D. Va. Gen. R. 9, defendant Sky Trail Servicing Group, LLC (“Skytrail

  Servicing”) moves for an order to seal Exhibit B attached to the Declaration of Geoffrey H. Kozen

  in Support of Motion to Dismiss Plaintiff Maville’s Claims and Motion to Compel Arbitration of

  Maville’s Claims, filed contemporaneously with this motion. In support of this Motion, Skytrail

  Servicing states the following:

          1.      Exhibit B is a contract between Ningodwaaswi, LLC, d/b/a Sky Trail Cash (“Sky

  Trail Cash”) and Skytrail Servicing that contains information regarding the business structure of

  Sky Trail Cash and the relationship between Sky Trail Cash and Skytrail Servicing.

          2.      The vast majority of the information contained in Exhibit B is not otherwise

  publicly available, meant to be kept confidential by Sky Trail Cash and Skytrail Servicing, and

  would prejudice the competitive business interests of both entities if publicly disclosed.

          3.      Sealing Exhibit B provides the Court and the parties to this lawsuit with the means

  to consider its contents in the record while safeguarding the confidential nature of its contents from

  any party outside this litigation.
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        WHEREFORE, Skytrail Servicing Group, LLC respectfully requests that the Court enter

     an order granting its motion to seal and requests that Exhibit B remain sealed indefinitely.

                                       WILLIAM CHENEY PRUETT and
                                       SKY TRAIL SERVICING GROUP, LLC


                                       By: /s/David N. Anthony
                                          David N. Anthony
                                          Virginia State Bar No. 31696
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                                          Servicing Group, LLC
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                                     CERTIFICATE OF SERVICE

          I hereby certify that on this 19th day of December 2022, I caused the foregoing document

  to be filed with the Clerk of Court using the CM/ECF system, which will send notice of electronic

  filing to all counsel of record.



                                           /s/ David N. Anthony
                                           David N. Anthony
                                           Virginia State Bar No. 31696
                                           Counsel for William Cheney Pruett and Sky Trail
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